       Case 1:99-cr-05060-DAD Document 425 Filed 12/18/14 Page 1 of 2


 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   Counsel Designated for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. Cr. F 99-5060 AWI

12                      Plaintiff,                     UNOPPOSED REQUEST TO EXTEND
                                                       DEADLINE FOR FILING RESPONSE;
13          v.                                         ORDER

14   RAUL CHAVEZ,

15                      Defendant.                     Judge: Honorable ANTHONY W. ISHII

16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17   hereby requests that the deadline for filing a response to the Court’s December 4, 2014 order be
18   extended to January 26, 2015. The undersigned is awaiting responses from Mr. Chavez and the
19   Probation Office. Counsel for the government, Assistant U.S. Attorney Kathleen A. Servatius,
20   graciously indicated that she has no objection.
21   Dated: December 17, 2014
22                                                       Respectfully submitted,
23                                                       HEATHER E. WILLIAMS
                                                         Federal Defender
24

25                                                       /s/ David M. Porter
                                                         DAVID M. PORTER
26                                                       Assistant Federal Defender
27

28
       Case 1:99-cr-05060-DAD Document 425 Filed 12/18/14 Page 2 of 2


 1
                                                 ORDER
 2
             Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered
 3
     that the response to the Court’s order of December 4, 2014, may be filed on or before January 26,
 4
     2015.
 5

 6   IT IS SO ORDERED.
 7   Dated: December 18, 2014
 8                                               SENIOR DISTRICT JUDGE

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                     2
